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                                                                         March 17, 2022
         VIA ECF
         Hon. Paul G. Gardephe
         Thurgood Marshall United States Courthouse
         40 Foley Square
         New York, NY 10007

         Re:       Converged Compliance Solutions, Inc. v. XOP Networks, Inc. et al.,
                   No. 21-CV-05482-PGG

         Dear Judge Gardephe:

                 We represent defendants XOP Networks, Inc. and Sudhir Gupta (together, “XOP”) in the
         above-captioned action. We write on behalf of XOP and co-defendant David Harding
         (collectively, “Defendants”) because Rule IV.H of Your Honor’s Individual Rules of Practice
         requires us to notify the Court in the event a motion is not decided within 90 days of the time it is
         fully submitted. We respectfully advise the Court that Defendants’ motion to dismiss this action
         was fully submitted on November 12, 2021.

               We appreciate the Court’s continued attention to this matter and are available for oral
         argument or to answer any questions at the Court’s convenience.

         Respectfully submitted,

         GREENBERG TRAURIG LLP

         By: /s/ Jennifer A. Surprenant

         Jennifer A. Surprenant
         Keith Hammeran

         CC:       All Counsel of Record, via ECF




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